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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                     NORTHERN DIVISION
BREY CORP., t/a Hobby Works,                            )
On behalf of itself and all others similarly            )
Situated,                                               )
                                                        )
                   Plaintiffs,                          ) Civil Action No. 8::11-cv-00718-AW
                                                        )
                   v.                                   )
                                                        )
LQ MANAGEMENT L.L.C.                                    )
                                                        )
                   Defendant.                           )
                                                        )
                                                        )

                                 CONSENT MOTION TO MODIFY THE
                                   INITIAL SCHEDULING ORDER

         The undersigned counsel of record for Plaintiff Brey Corporation and Defendant LQ

Management L.L.C. (incorrectly named as LQ Management, L.L.C.) respectfully request that

this Honorable Court modify its November 1, 2011 Scheduling Order and issue a new

Scheduling Order as set forth below:

         1.        This is a putative class action, which requires a schedule that accommodates the

need for briefing and a hearing on dispositive motions and on class certification prior to pretrial

procedures and a trial setting. In addition, due to the complexity of the claims and issues, the

anticipated need for discovery and investigation, and the likelihood that there will be multiple

experts on class certification issues, as well as the merits, the parties agree that additional time is

required to complete discovery, provide expert disclosures and to file dispositive motions prior to

briefing on class certification.




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         2.        Counsel for all parties have agreed upon the proposed deadlines as follows:

         December 30, 2011               Deadline for joinder of additional parties and amendment
                                         of pleadings

         March 16, 2012:                 Plaintiff’s Rule 26(a)(2) disclosures

         April 27, 2012:                 Defendant’s Rule 26(a)(2) disclosures

         May 11, 2012:                   Plaintiff’s rebuttal Rule 26(a)(2) disclosures

         May 18, 2012:                   Rule 26(e)(2) supplementation of disclosures and responses

         June 8, 2012:                   Discovery deadline; submission of status report

         June 29, 2012:                  Dispositive motions due on named plaintiff’s claims

         August __, 2012                 Hearing on dispositive motions
         at ______ __.m.:


         August 31, 2012:                Motion for Class Certification due

         September 28, 2012:             Opposition to Motion to Class Certification

         October 12, 2012:               Reply brief on Motion for Class Certification

         October __, 2012                Hearing on Motion for Class Certification
         at _____ __.m.:

         3.        The parties request the Court to set a status conference following the ruling on

class certification at which further deadlines can be discussed.

         4.        WHEREFORE, for the above-stated reasons, counsel for all parties respectfully

request that the Current Scheduling Order issued by this Court be modified as set forth above.




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Dated: November 15, 2011               Respectfully submitted,


                                       __            /s/
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                                       shr@ringlaw.us

                                       Attorneys for Plaintiff
                                       Brey Corporation



                                       __             _/s/
                                       Terri S. Reiskin (Bar No. 05256)
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                                       (202) 906-8669 (fax)

                                       Attorneys for Defendant,
                                       LQ Management L.L.C.




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                     NORTHERN DIVISION
BREY CORP., t/a Hobby Works,
On behalf of itself and all others similarly          )
Situated,                                             )
                                                      )
                   Plaintiffs,                        ) Civil Action No. 8::11-cv-00718-AW
                                                      )
                   v.                                 )
                                                      )
LQ MANAGEMENT L.L.C.                                  )
                                                      )
                   Defendant.                         )
                                                      )
                                                      )

                                               ORDER

         Upon consideration of the Consent Motion to Modify the Initial Scheduling Order, and

the entire record herein, it is this _____ day of November, 2011,

         ORDERED, that the Consent Motion to Modify the Initial Scheduling Order is hereby

GRANTED; and it is further,

         ORDERED, that the following deadlines are now applicable to this case:

         December 30, 2011             Deadline for joinder of additional parties and amendment
                                       of pleadings

         March 16, 2012:               Plaintiff’s Rule 26(a)(2) disclosures

         April 27, 2012:               Defendant’s Rule 26(a)(2) disclosures

         May 11, 2012:                 Plaintiff’s rebuttal Rule 26(a)(2) disclosures

         May 18, 2012:                 Rule 26(e)(2) supplementation of disclosures and responses

         June 8, 2012:                 Discovery deadline; submission of status report

         June 29, 2012:                Dispositive motions due on named plaintiff’s claims




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         August __, 2012               Hearing on Dispositive motions
         at ______ __.m.:


         August 31, 2012:              Motion for Class Certification due

         September 28, 2012:           Opposition to Motion to Class Certification

         October 12, 2012:             Reply brief on Motion for Class Certification

         October __, 2012              Hearing on Motion for Class Certification
         at _____ __.m.:

         The Court will set a status conference to address further scheduling, as needed, after a

ruling on the Motion for Class Certification.



                                                Alexander Williams
                                                United States District Judge




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 15th day of November, 2011, a copy of the foregoing Consent

Motion To Modify The Initial Scheduling Order was electronically served upon the following

counsel:


Counsel for Plaintiff:

Stephen H. Ring                                   Edward A. Broderick
Stephen H. Ring, P.C.                             Broderick Law, P.C.
506 Main Street, Suite 215                        727 Atlantic Ave., Second Floor
Gaithersburg, MD 20878                            Boston, MA 02111

and via U.S. mail postage prepaid upon:

Matthew P. McCue
The Law Office of Matthew P. McCue
340 Union Ave.
Framingham, MA 01702




                                                             /s/
                                                     Terri S. Reiskin




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